Case 3:18-mj-05200-DWC Document1 Filed 08/27/18 Pagetof22

 

 

 

 

 

AO 106 (Rev. 04/10) Application for a Search Warrant FILED SEOEWED
UNITED STATES DISTRICT COURT AUG 2°7 2018
for the WESTERN Distal OF WASHINGTON AT TACOMA
Western District of Washington BY | DEPUTY

 

In the Matter of the Search of
(Briefly describe the property to be searched
or identify the person by name and address)
19630 Ash Crest Loop NE, Apartment 36, Poulsbo,

Washington 98370, more particularly described in
Attachment A

Case No. ("\ | 8 -5 200

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A, attached hereto and incorporated by reference herein.

located in the Western District of Washington , there is now concealed (identify the

person or describe the property to be seized):

See Attachment B, attached hereto and incorporated by reference herein.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
of evidence of a crime;
Mf contraband, fruits of crime, or other items illegally possessed;
wm property designed for use, intended for use, or used in committing a crime;
C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
21 USC 841(a), 846 conspiracy to distribute controlled substances, distribution, and possession with
intent to distribute controlled substances

The application is based on these facts:

See Affidavit of DEA Special Agent Steven Meyer, attached hereto and incorporated by reference herein.

O Continued on the attached sheet.

O Delayed notice of days (give exact ending date ifmore than30 days: ——s—_—s+): is. requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

Applicant’s signature

Steven Meyer, Speical Agent

Printed name and title

Sworn to before me and signed in my presence. rp
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Judge 's signature

City and state: Tacoma, Washington ; David W. Christel, United States Magistrate Judge

Printed name and title

USAO 2018R00760

 

 

 

 
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AFFIDAVIT

STATE OF WASHINGTON )
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COUNTY OF PIERCE

Steven Meyer, being first duly sworn on oath, deposes and says:
AFFIANT BACKGROUND AND EXPERIENCE

1. I am an “investigative or law enforcement officer of the United States”
within the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of
the United States who is empowered by law to conduct investigations of, and to make
arrests for, offenses enumerated in Title 18, United States Code, Section 2516.

2. I am a Special Agent with the Drug Enforcement Administration (DEA),
and have been since March 2017. I am currently assigned to the Seattle Field Division,
Tacoma Resident Office. Prior to my employment with the DEA, I worked as a
Uniformed Officer with the Secret Service in Washington D.C., from June 2006 to April
2009. I received formal training at the DEA Basic Agent Training in Quantico, Virginia.
The four-month Basic Academy included comprehensive, formalized instruction in,
among other things: basic narcotic investigations, drug identification and detection,
familiarization with United States narcotics laws, financial investigations and money
laundering, identification and seizure of drug-related assets, organized crime
investigations, physical and electronic surveillance, and undercover operations.

3. During the course of my law enforcement career, I have been involved in
investigations of numerous criminal offenses, including the offenses involved in this
current investigation. I have participated in criminal investigations of illicit drug
trafficking organizations, ranging from street-level dealers to major dealers, to include
Mexico-based drug trafficking organizations. These investigations have also included the
unlawful importation, possession with intent to distribute, and distribution of controlled

substances; the related laundering of monetary instruments; the conducting of monetary

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transactions involving the proceeds of specified unlawful activities; and conspiracies
associated with criminal narcotics offenses. These investigations have included use of
the following investigative techniques: confidential informants; undercover agents;
analysis of pen register, trap and trace, and toll records; physical and electronic
surveillance; wiretaps; and the execution of search warrants. I have had the opportunity
to monitor, listen to, review transcripts and line sheets (prepared by linguists)
documenting the content of intercepted conversations involving the trafficking of
cocaine, heroin, methamphetamine, and other narcotics, by persons who used some form
of code to thwart law enforcement. I have also interviewed defendants at the time of
their arrests and have debriefed, spoken with, or interviewed numerous drug dealers or
confidential sources (informants) at proffer interviews who were experienced in speaking
in coded conversations over the telephone. I have gained knowledge regarding the
various methods, techniques, codes, and/or jargon used by drug traffickers in the course
of their criminal activities, including their use of cellular telephones and other electronic
devices to facilitate communications while avoiding law enforcement scrutiny.

4, I have participated in the investigation described herein since April 2018. I
have obtained the facts set forth in this Affidavit through personal participation in the
investigation described below, from the review of consensually recorded calls to date,
from oral and written reports of other law enforcement officers, from records, documents
and other evidence obtained during this investigation, and from confidential sources who
are associated with, and have knowledge about the subjects of this investigation and their
confederates. I have obtained and read official reports prepared by various law
enforcement officers in other related investigations by other agencies. Since I am
submitting this Affidavit for the limited purpose of obtaining authorization to search the
cellular phones described herein, I have not included every fact known concerning this
investigation. I have set forth only the facts that I believe are essential to establish the

necessary foundation for the issuance of such warrants.

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PURPOSE OF AFFIDAVIT

5. This Affidavit is submitted in support of an application to search the
following location, as further described in Attachment A, for evidence, fruits and
instrumentalities of drug trafficking, firearms, and money laundering crimes committed
by Jackson Freeman SUTER, in violation of Title 21, United States Code, Sections
841(a)(1), 843(b), 846, and 952, and Title 18, United States Code, Sections 922(g)(1),
1956, and 1957, as further described in Attachment B. The location that agents are
requesting authorization to search is identified in bold font throughout this Affidavit and
is the primary residence of Jackson Freeman SUTER, 19630 Ash Crest Loop NE,
Apartment 36, Poulsbo, Washington 98370.

CONFIDENTIAL SOURCES

6. Confidential Source 1 (CS1) is cooperating with the DEA and the West
Sound Narcotics Enforcement Team (WestNET) to investigate Jackson SUTER’s cocaine
distribution organization, as explained in more detail below. CS1 has no felony
convictions, and has one gross misdemeanor conviction for Assault in 2014. CS1 is
working with the DEA and WestNET in exchange for financial consideration. CS1 has
assisted members of WestNET in previous investigations and WestNET found his/her
information to be consistently truthful and reliable during those investigations.

SUMMARY OF PROBABLE CAUSE

7. Over the course of approximately the past five months, DEA agents and
WestNET detectives have been investigating Jackson SUTER’s cocaine distribution
organization. SUTER and his associates are known to distribute cocaine at bars and
nightclubs in/around Poulsbo and Bremerton, Washington. Based on information
gathered through my and other law enforcement officers’ interviews, we believe that
SUTER can acquire kilogram-quantities of cocaine, and keeps large amounts of cash on
hand. CS1 informed investigators that SUTER uses multiple distributors in the operation,

to include Michael LENTZ and Alex BULLARD.

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Controlled Purchase #1

8. On April 16, 2018, agents arranged a controlled purchase of cocaine from
SUTER, utilizing CS1. While in the presence of agents, CS1 spoke to SUTER to confirm
the time and location of the deal. During the conversation, SUTER informed CS1 that
Michael LENTZ would complete the deal, and it would take place at the Central Market
at 20148 10th Avenue NE, Poulsbo, Washington. CS1 met with LENTZ at the Central
Market and successfully purchased the cocaine. Investigators searched CS1 and his/her
vehicle before and after the purchase, and found no contraband items. Special Agent
Jeremy Tan field-tested the drugs, as witnessed by me, and they tested positive for
cocaine.

9. Surveillance units confirmed that, prior to the deal, LENTZ traveled from

his residence at 21117 Norby Drive, Poulsbo, Washington, to SUTER’s house at 21482

Big Valley Road, Poulsbo, Washington, then to the Central Market. Following the deal,
LENTZ drove directly back to SUTER’s residence.
Controlled Purchase #2

10. On May 3, 2018, agents arranged a controlled purchase of 2 ounces of
cocaine from SUTER for $2,800, again utilizing CS1. While in the presence of agents,
CS1 confirmed with SUTER the time and location of the deal, which again would be the
Central Market. CS1 met with SUTER at the Central Market, and successfully purchased
the cocaine. Special Agent Tan field-tested the drugs, as witnessed by me, and they tested
positive for cocaine. Investigators searched CS1 and his/her vehicle before and after the
purchase, and found no contraband items. During the post-buy debrief of CS1, he/she
informed agents that SUTER was no longer living at 21482 Big Valley Road, Poulsbo,
Washington, and was now at the Hillsider 50 Apartment Complex, sharing Apartment

36 with Ben MCMULLEN.

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Identification of SUTER’s Supplier

11. OnJune 14, 2018, agents attempted to conduct another controlled purchase
from SUTER, for 2 ounces of cocaine, utilizing CS1. However, prior to the deal, SUTER
contacted CS1 and asked if he/she could drive him (SUTER) to Tacoma in order to
resupply. Agents directed CS1 to accept SUTER’s offer and drive him to meet the
supplier. At approximately 8:25 p.m., SUTER confirmed he was ready to go, and told
CS1 to come and pick him up at 19630 Ash Crest Loop NE, Apartment 36, Poulsbo,
Washington 98370. Prior to CS1’s departure, agents searched CS1 and his/her vehicle
for contraband, with nothing found.

12. At approximately 8:30 p.m., surveillance units observed SUTER leave his
apartment, with a zipped up backpack, and enter CS1’s vehicle. Surveillance units
followed CS1, with SUTER, from the apartment to the Emerald Queen Casino at 2024
East 29th Street, Tacoma, Washington, and then to the Walmart at 20307 Mountain
Highway East, Spanaway, Washington. SUTER informed CS1 that the supplier had
changed the location to Walmart to save time. SUTER described the supplier as being
older, likely parked in a handicapped space at the Walmart.

13. At approximately 10:20 p.m., agents observed SUTER exit CS1’s vehicle,

-with the zipped up backpack, and walk towards the Walmart. DEA Task Force Officer

(TFO) Eric Jansen observed SUTER approach a large Polynesian-looking individual and
begin to speak with him. Resident Agent in Charge (RAC) Ian McKenzie, on foot at the
Walmart, described the individual as having a full beard, two tattoos on his neck, and
using an electric wheel chair. SUTER and the unidentified Polynesian male moved to a
gray Dodge Charger (TV1), bearing Washington license AXM0809, parked in a
handicapped parking spot. The Washington Department of Licensing (DOL) indicates
the registered owner of the vehicle is Jonathan MOANALE at 20112 14th Avenue Court
East, Spanaway, Washington. RAC McKenzie confirmed the DOL photo of MOANALE
matched the individual who met with SUTER. RAC McKenzie observed SUTER walk
back to CS1’s vehicle with the backpack unzipped.

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14. SUTER informed CS1 that he had made the money drop, but that the
supplier (MOANALE) did not have the cocaine. However, he (MOANALE) had
promised to deliver it to SUTER the next day, June 15, 2018. CS1 and SUTER agreed to
complete their deal for the 2 ounces of cocaine after SUTER had been resupplied.

15. At approximately 10:45 p.m., TFO Jansen observed TV1 parked at 20112
14th Avenue Court East, Spanaway, Washington.

16. On June 15, 2018, at around 8:30 p.m., CS1 contacted agents to say
SUTER was ready to do the deal. He/she believed SUTER had met the supplier
(MOANALE) sometime in the late afternoon or early evening.

Controlled Purchase #3

17. On June 19, 2018, agents directed CS1 to contact SUTER and make the
controlled purchase originally planned for June 14, 2018. While in the presence of
agents, CS1 confirmed the deal would take place at the Hillsider 50 Apartment
Complex, Apartment 36, at approximately 8:00 p.m. Agents provided CS1 with $2,800
in buy money to purchase the drugs. CS1 met with SUTER at the apartment, and
successfully purchased one ounce of cocaine for $1,300. Special Agent Tan field-tested
the drugs, as witnessed by me, and they tested positive for cocaine. Investigators
searched CS1 and his/her vehicle before and after the purchase, and found no contraband
items. During the debriefing of CS1 after the controlled purchase, he/she informed
agents that SUTER was not happy with the quality of the cocaine, and only wanted to sell
one ounce.

SUTER Resupply #1

18. On June 26, 2018, SUTER asked CS1 to drive him to resupply in Tacoma,
Washington. CS1 told agents SUTER was expecting to pick up 9 ounces of cocaine.
Additionally, SUTER said he would introduce CS1 to his supplier, and they could discuss
the possibility of acquiring fentanyl (China White). Agents directed CS1 to call SUTER
and confirm he/she would be available to go. At approximately 6:05 p.m., SUTER
informed CS1 he was ready, and told him/her to come and pick him (SUTER) up at

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19630 Ash Crest Loop NE, Apartment 36, Poulsbo, Washington 98370. Prior to
CS1’s departure, agents searched CS1 and his/her vehicle for contraband, with nothing
found.

19. At approximately 6:15 p.m., surveillance units observed SUTER leave his
apartment, with a white backpack, and enter CS1’s vehicle. They followed CS1, with
SUTER, from the apartment to the Emerald Queen Casino at 2024 East 29th Street,
Tacoma, Washington, and then to a residence at 4668 Court Q, Tacoma, Washington.
Agents observed SUTER and CS1 meet MOANALE on the porch, and sit down.
According to CS1, SUTER started the conversation by telling MOANALE that he
(SUTER) only had $9,500 of the $10,000, and would have to pay him the rest in a few
days. CS1 has stated that SUTER always brings at least $10,000 with him when
resupplying, depending on the amount he (SUTER) is buying. SUTER also introduced
CS1. MOANALE and CS] discussed the possibility of buying fentanyl (“China White”),
agreeing on a price of $2,500 per ounce. MOANALE explained that he did not have the
fentanyl on hand, and would have to get it. CS1 asked if it would be possible within the
week, and MOANALE confirmed it would, but said CS1 would have to go through
SUTER. The meeting concluded, and MOANALE informed SUTER he would have to
come back later to pick up the cocaine.

20. At approximately 10:00 p.m., agents observed CS1’s vehicle return to 4668
Court Q, Tacoma, Washington. CS1 and SUTER exited the vehicle, walked to the porch
area, and made small talk with MOANALE. Shortly thereafter, a silver 2007 Chrysler
Aspen, bearing Washington license BJE9723 (TV2), arrived at the residence with two
unidentified male occupants. Washington DOL records indicate the registered owner of
the vehicle is Yonn Chang at 752 South 88th Street, Tacoma, Washington. Agents
conducted a search of any additional individuals connected to the 752 South 88th Street
address in the Washington DOL database, and identified three names: Leon Som KHA,
Vuthy UNG, and Ma Bun YOU. After later showing DOL photos of KHA, UNG, and

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YOU to CS1, he/she confirmed that KHA and UNG were the two males that arrived in
TV2.

21. At approximately 10:10 p.m., agents observed KHA, UNG, SUTER, and
CS1 leave, while MOANALE stayed at the residence. KHA, UNG, and SUTER got into
TV2, while CS1 drove his/her vehicle. Surveillance teams followed both vehicles north
to the Doubletree Hilton Hotel Seattle Airport at 18740 International Boulevard, Seattle,
Washington. TV2 stopped next to a new Durango-style vehicle with two unidentified
occupants inside. The passenger, an unidentified black male, exited and moved to TV2’s
passenger window. Moments later, the unidentified black male walked back to his
vehicle and got in. All three vehicles exited the hotel, but split up a short time later. TV2
and CS1’s vehicle went west on 188th Street, while the Durango-style vehicle went east.

22. At approximately 11:40 p.m., agents observed TV2 and CS1’s vehicle pull
into the Westwood Village at 2600 Southwest Barton Street, Seattle, Washington. The
vehicles moved alongside a blue 2014 Nissan Altima, bearing Washington license
AXE5187, and parked. Surveillance units observed an unidentified Hispanic male in the
passenger seat of the Altima exit the vehicle, walk to the backseat of TV2, walk back to
the Altima, then back to TV2’s backseat, before returning to the Altima. Shortly
thereafter, the Altima, TV2, and CS1’s vehicle departed the location. Later that evening,
CS1 told agents that SUTER had successfully acquired 9 ounces of cocaine. Agents
believe SUTER acquired the drugs from the unidentified Hispanic male in the Altima.
Surveillance of SUTER Resupply #2

23. On July 10, 2018, surveillance units observed SUTER resupply in Seattle,
Washington with his supplier (MOANALE). At approximately 5:45 p.m., WestNET
detective Cory Manchester observed SUTER leave his apartment at 19630 Ash Crest
Loop NE, Apartment 36, Poulsbo, Washington 983790, enter a 2004 BMW, bearing
Arizona license BVV2990, and depart the area. Surveillance units followed SUTER to

4668 Court Q, Tacoma, Washington, where he parked in front of the residence.

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24. At approximately 6:50 p.m., WestNET detective Jason Bowman observed
TV2 arrive at 4668 Court Q. MOANALE, with an unidentified Polynesian female, exited
the vehicle and walked into the residence. Shortly thereafter, SUTER exited the BMW,
with a white backpack, and walked into the residence. Both SUTER and MOANALE
came outside and sat on the porch after a few minutes.

25. At approximately 7:30 p.m., Detective Bowman observed a 2002 bronze
Cadillac arrive at 4668 Court Q. MOANALE walked to the vehicle and got in.
Simultaneously, SUTER moved to the BMW and got in. Surveillance units observed
both vehicles leave the residence and drive to the Mount Baker Rowing and Sailing
Center at 3800 Lake Washington Boulevard, Seattle, Washington.

26. At approximately 8:40 p.m., I observed MOANALE, Leon KHA, and Ma
Bun YOU exit the Cadillac, walk to a 2018 Mercedes, and interact with an unidentified
black male. Shortly thereafter, MOANALE walked to SUTER’s vehicle and got into the
front passenger seat. They sat inside SUTER’s vehicle for approximately five minutes,
and then got out. Agents believe MOANALE supplied SUTER with cocaine during that
meeting. At approximately 9:00 p.m., SUTER got back into the BMW and departed the
area. MOANALE, KHA, and YOU left approximately ten minutes later.

Overdoses at SUTER’s Residence, 9630 Ash Crest Loop NE, Apartment 36, Poulsbo,
Washington 98370

27. On August 17, 2018, at approximately 11:39 a.m., first responders received
an emergency 9-1-1call from SUTER, who stated that an unidentified female was
unresponsive in his apartment at 19630 Ash Crest Loop NE, Apartment 36, Poulsbo,
Washington 98370. Paramedics responded to the scene and discovered the female dead,
with three others in the apartment unconscious. Paramedics administered Naloxone to
the surviving victims, and transported them to the hospital.

28. At approximately 12:20 p.m., Poulsbo Police Department detectives arrived
at 19630 Ash Crest Loop NE, Apartment 36, Poulsbo, and spoke with SUTER, who
was not advised of his Miranda rights. SUTER admitted to removing items from the

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apartment prior to calling authorities, which he put in a backpack in his BMW’s trunk.
Detectives read a consent to search card to SUTER for the BMW, and he agreed, but only
for a search of the trunk. The subsequent search resulted in the seizure of a white
backpack containing, among other items, a square-shaped dinner plate. The dinner plate
later tested positive for methamphetamine, cocaine, and fentanyl. Detectives took

SUTER to the Poulsbo police station for additional questioning. Prior to the interview,
Poulsbo detective Lee Wheeler read Miranda rights to SUTER, who acknowledged his
rights and continued talking. Additionally, detectives seized SUTER’s cell phone and
entered it into evidence.

29. The next day, August 18, 2018, at approximately 1:00 a.m., Poulsbo and
WestNET detectives, with the assistance of Washington’s National Guard Civil Support
Team (CST), executed state search warrants on SUTER’s apartment (19630 Ash Crest
Loop NE, Apartment 36, Poulsbo, Washington 98370) and vehicle. Detectives seized
three cell phones from the apartment, and entered them into evidence. Additionally, CST
technicians performed testing on the handle of a security safe in SUTER’s room; the test
results came back positive for fentanyl. The search of SUTER’s vehicle resulted in the
seizure of suspected cocaine and a small portable scale.

30. On August 22, 2018, at approximately 1:30 p.m., Poulsbo detectives
executed an additional state search warrant at SUTER’s apartment, 19630 Ash Crest
Loop NE, Apartment 36, Poulsbo, Washington 98370. They seized two additional cell
phones, took photos of indicia for SUTER and the overdose victims, and entered them
into evidence.

31. Agents are seeking this warrant to enter SUTER’s apartment, in part, to
acquire any identifiable fingerprints from the security safe that tested positive for
fentanyl. Although Poulsbo and WestNET detectives have executed two prior warrants
at 9630 Ash Crest Loop NE, Apartment 36, Poulsbo, Washington 98370, those

searches were aimed primarily at gathering evidence related to the overdoses, including

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the overdose death, and not at gathering evidence related to the broader, ongoing drug
trafficking conspiracy in which SUTER, MOANALE, and others are involved.
TACTICS USED BY DRUG TRAFFICKERS

32. Based upon my training, experience, and participation in this and other
investigations involving narcotics trafficking, my conversations with other experienced
agents and law enforcement agents with whom I work, and interviews of individuals who
have been involved in the trafficking of methamphetamine, heroin and other narcotics, I
have learned and know the following:

a. DTOs often use “stash houses” to conceal their illegal activities and
contraband. Such stash houses allow drug traffickers to keep their contraband at a hidden
location, where they may not live, thereby making it more difficult for law enforcement
and/or competitors to identify these locations where drugs and drug proceeds may be
hidden.

b. It is common for drug dealers to possess narcotics, drug
paraphernalia, and other items which are associated with the sale and use of controlled
substances such as scales, containers, cutting agents and packaging materials in their
residences, stash houses, storage units, garages, outbuildings and/or vehicles on their
property.

c. It is common for drug dealers to hide proceeds of illegal narcotics
sales and records of illegal narcotics transactions in secure locations within their
residences, stash houses, storage units, garages, outbuildings and/or vehicles on the
property for their ready access and to conceal them from law enforcement authorities.

d. It is common to find papers, letters, billings, documents, and other
writings, which show ownership, dominion, and control of businesses, residences, and/or
vehicles in the residences, stash houses, storage units, garages, outbuildings and/or
vehicles of drug traffickers. Items of personal property that tend to identify the person(s)
in residence, occupancy, control, or ownership of the premises also include canceled
mail, deeds, leases, rental agreements, photographs, personal telephone books, diaries,

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utility and telephone bills, statements, identification documents, keys, financial papers,
rental receipts and property ownership papers, personal and business telephone and
address books and telephone toll records, and other personal papers or identification
cards in the names of subjects involved in the criminal activity being investigated.

€. Drug traffickers frequently amass large proceeds from the illegal
sale of controlled substances that they attempt to legitimize. To accomplish this goal,
drug traffickers use financial institutions and their attendant services, securities, cashier’s
checks, safe deposit boxes, money drafts, real estate, shell operations, and business
fronts. Persons involved in drug trafficking and/or money laundering keep papers
relating to these activities for future reference, including federal and state tax records,
loan records, mortgages, deeds, titles, certificates of ownership, records regarding
investments and securities, safe deposit box rental records and keys, and photographs. I
know from my training and experience that often items of value are concealed by persons
involved in large scale drug trafficking inside of safes, lock boxes, and other secure
locations within their residences, outbuildings, and vehicles.

f. Drug traffickers very often place assets in names other than their
own to avoid detection of these assets by government agencies, and that even though
these assets are in other individual or business names, the drug dealers actually own and
continue to use these assets and exercise dominion and control over them.

g. Drug traffickers often document aspects of their criminal conduct
through photographs or videos of themselves, their associates, their property, and their
product. Drug traffickers usually maintain these photographs or videos in their
possession.

h. Drug traffickers often maintain large amounts of United States
currency in order to maintain and finance their ongoing illegal drug trafficking business.
Often drug traffickers from other countries operating in the United States frequently use
wire remitters and bulk cash transfers to transfer currency to co-conspirators living in
other countries.

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i. Drug traffickers commonly have in their possession, on their person,
and at their residences and/or in their storage units, firearms and other weapons which are
used to protect and secure a drug trafficker’s property.

j. Drug traffickers use mobile electronic devices including cellular
telephones and other wireless communication devices for the purpose of conducting their
illegal trafficking business. As described below, such equipment often contains evidence
of these illegal activities.

k. Drug traffickers commonly maintain addresses, vehicles, or
telephone numbers which reflect names, addresses, vehicles, and/or telephone numbers of
their suppliers, customers and associates in the trafficking organization and it is common
to find drug traffickers keeping records of said associates in cellular telephones and other
electronic devices. Traffickers often maintain cellular telephones for ready access to
their clientele and to maintain their ongoing narcotics business. Traffickers frequently
change their cellular telephone numbers to avoid detection by law enforcement, and it is
common for traffickers to use more than one cellular telephone at any one time.

1, Drug traffickers use cellular telephones as a tool or instrumentality
in committing their criminal activity. They use them to maintain contact with their
suppliers, distributors, and customers. They prefer cellular telephones because, first, they
can be purchased without the location and personal information that land lines require.
Second, they can be easily carried to permit the user maximum flexibility in meeting
associates, avoiding police surveillance, and traveling to obtain or distribute drugs.

Third, they can be passed between members of a drug conspiracy to allow substitution
when one member leaves the area temporarily. Since cellular phone use became
widespread, every drug dealer I have interacted with has used one or more cellular
telephones for his or her drug business. I also know that it is common for drug traffickers
to retain in their possession phones that they previously used, but have discontinued

actively using, for their drug trafficking business. Based on my training and experience,

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the data maintained in a cellular telephone used by a drug dealer is evidence of a crime or
crimes. This includes the following:

1. The assigned number to the cellular telephone (known as the
mobile directory number or MDN), and the identifying telephone serial number (known
as either the Electronic Serial Number (ESN), Mobile Identification Number (MIN),
International Mobile Subscriber Identity MSI) number, or the International Mobile
Equipment Identity (IMEI) number) are important evidence because they reveal the
service provider, allow us to obtain subscriber information, and uniquely identify the
telephone. This information can be used to obtain toll records, to identify contacts by this
telephone with other cellular telephones used by co-conspirators, to identify other
telephones used by the same subscriber or ‘purchased as part of a package, and to confirm
if the telephone was contacted by a cooperating source.

il. The stored list of recent received calls and sent calls is
important evidence. It identifies telephones recently in contact with the telephone user.
This is valuable information in a drug investigation because it will identify telephones
used by other members of the organization, such as suppliers, distributors and customers,
and it confirms the date and time of contacts. Ifthe user is under surveillance, it
identifies what number he called during or around the time of a drug transaction or
surveilled meeting. Even if a contact involves a telephone user not part of the
conspiracy, the information is helpful (and thus is evidence) because it leads to friends
and associates of the user who can identify the user, help locate the user, and provide
information about the user. Identifying a defendant’s law-abiding friends is often just as
useful as identifying his drug-trafficking associates.

iii. | Stored text messages are important evidence, similar to stored
numbers. Agents can identify both drug associates, and friends of the user who likely

have helpful information about the user, his location, and his activities.

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iv. Photographs on a cellular telephone are evidence because
they help identify the user, either through his /her picture, or through pictures of friends,
family, and associates that can identify the user. Pictures also identify associates likely to
be members of the drug trafficking organization. Some drug traffickers photograph
groups of associates, sometimes posing with weapons and showing identifiable gang
signs. Also, digital photos often have embedded “geocode” information within them.
Geocode information is typically the longitude and latitude where the photo was taken.
Showing where the photo was taken can have evidentiary value. This location
information is helpful because, for example, it can show where coconspirators meet,
where they travel, and where assets might be located

v. Stored address records are important evidence because they
show the user’s close associates and family members, and they contain names and
nicknames connected to phone numbers that can be used to identify suspects.

33. | Narcotics distributors frequently try to conceal their identities by using
fraudulent names and identification cards. Once identities have been created or stolen
from other citizens, drug traffickers use those identifications to falsify records such as
DOL records and phone records for the purpose of theft of services and to evade
detection by law enforcement.

34. It isa common practice for drug traffickers to maintain records relating to
their drug trafficking activities in their residences, stash houses, storage units, garages,
outbuildings and/or vehicles. Because drug traffickers in many instances will “front”
(that is, sell on consignment) controlled substances to their clients, or alternatively, will
be “fronted” these items from their suppliers, such record keeping is necessary to keep
track of amounts paid and owed, and such records will also be maintained close at hand
so as to readily ascertain current balances. These records include “pay and owe” records
to show balances due for drugs sold in the past (pay) and for payments expected (owe) as

to the trafficker’s suppliers and distributors, telephone and address listings of clients and

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suppliers, and records of drug proceeds. These records are commonly kept for an
extended period of time.

35. Drug traffickers maintain books, records, receipts, notes, ledgers, airline
tickets, money orders, and other papers relating to the transportation and distribution of
controlled substances. These documents whether in physical or electronic form, are
maintained where the traffickers have ready access to them. These documents include
travel records, receipts, airline tickets, auto rental agreements, invoices, and other
memorandum disclosing acquisition of assets and personal or business expenses. [ also
know that such records are frequently maintained in narcotics traffickers’ residences,
stash houses, storage units, garages, outbuildings and/or vehicles.

CONCLUSION

36. | Based upon the information which has been uncovered during the course of
this investigation, including multiple controlled purchases of cocaine, physical and
electronic surveillance, records obtained through use of a pen register/trap and trace, and
on the advice, experience, knowledge of other agents and officers involved in this
investigation, I believe SUTER has used 19630 Ash Crest Loop NE, Apartment 36,
Poulsbo, Washington 98370 to facilitate violations of the Controlled Substances Act,
specifically drug trafficking and money laundering in the Western District of
Washington, and elsewhere, in violation of the Controlled Substances Act, Title 21,
United States Code, Sections 841(a)(1), 843(b), and 846, and Title 18, United States
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Code, Sections 1956 and 1957, and that there is probable cause to believe evidence of
such, as described more particularly in Attachment B, will be found at 19630 Ash Crest
Loop NE, Apartment 36, Poulsbo, Washington 98370.

STEVEN MEYER
Special Agent
Drug Enforcement Administration

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SUBSCRIBED and SWORN TO before me this re day of August, 2018.

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DAVID W. CHRISTEL
UNITED STATES MAGISTRATE
JUDGE

 

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ATTACHMENT A
Location to be searched

This warrant authorizes the government to search the primary residence of Jackson
Freeman SUTER at 19630 Ash Crest Loop NE, Apartment 36, Poulsbo, Washington,
98370 for the items further described in Attachment B.

The search is to include all rooms within the residence, and any assigned garages
or storage rooms, whether attached or detached, and any vehicles found within such
garages or any assigned parking spaces.

Physical Description: This apartment is in a single-story dwelling built in 1976.
The apartment is approximately 870 square feet in size. The apartment is located in
Building 5 which has frame siding that is tan in color with a dark brown door. As you
face Building 5 from the backside, you walk down a path with wooden railing to two
doors. Apartment 36 is the door to the left. A side photo of Building 5 appears below; the
wooden railing that leads to apartment 36 is visible at the left of the photo.

 

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ATTACHMENT B
Items to be seized

From the location described in Attachment A, as well as from vehicles found
within the curtilage of the location described in Attachment A, the government is
authorized to search for and seize the following items, which are evidence and/or fruits of
the commission of the following crimes: distribution and possession with intent to
distribute controlled substances in violation of Title 21, United States Code, Section
841(a)(1), and conspiracy to commit these offenses in violation of Title 21, United States
Code, Section 846; use of a communications facility in furtherance of a felony drug
offense in violation of Title 21, United States Code, Section 843(b); and laundering of
monetary instruments in violation of Title 18, United States Code, Sections 1956 and
1957, Possession of Firearms in Furtherance of a Drug Trafficking Crime, in violation of
Title 18, United States Code, Section 924(c), and conspiracy to commit these offenses in
violation of Title 18, United States Code, Section 371, including the following:

1. Any suspected controlled substances, including cocaine, fentanyl, and/or
heroin;

2. Firearms and firearms related items, including magazines, ammunition,
holsters, and body armor, or other dangerous weapons;

3. Cellular telephones and other communications devices including
Blackberries, Androids, iPhones, and similar devices, which may be searched only for the

following items:

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i. Assigned telephone number and identifying serial number (e.g., ESN, MIN,
IMSI, IMED;

il. Stored list of recent received, sent, or missed calls;

iil, Stored contact information;

iv. Stored photographs of narcotics, currency, guns or other weapons,

suspected criminal activity, and/or the user of the phone or co-conspirators;

and
v. Stored text messages that relate to the above-enumerated federal crimes;
4. Financial profits, proceeds and instrumentalities of trafficking in narcotics

and money laundering, including US currency and other items of value;

5. Paraphernalia for packaging, smuggling, processing, diluting,
manufacturing, weighing, and distributing controlled substances, for example: hidden
compartments, scales, blenders, funnels, sifters, grinders, glass panes, mirrors, razor
blades, plastic bags, heat sealing devices, and diluting agents such as inositol, vitamin
B12, etc.;

6. Books, records, receipts, notes, ledgers, and other documents relating to the
distribution of controlled substances, money laundering, communications between
members of the conspiracy, and evidence of the use of apparently legitimate businesses to
disguise profits;

7. Photographs, video tapes, digital cameras, and similar items depicting
friends and relatives of the property occupants, or suspected buyers or sellers of
controlled substances, controlled substances, and assets derived from the distribution of
controlled substances

8. Personal books and papers reflecting names, addresses, telephone numbers,
and other contact or identification data relating to the distribution of controlled
substances, and money laundering;

9. Financial records relating to controlled substances income and expenditures
of money and wealth, to wit: money orders, wire transfer records, cashier's checks and

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receipts, bank account records, passbooks, tax records, safe deposit box keys and records,
checkbooks, and check registers, as well as precious metals and gems such as gold, silver,
diamonds, etc.;

10. Items of personal property that tend to identify the person(s) in residence,
occupancy, control, or ownership of the premises and/or vehicle, including canceled mail,
deeds, leases, rental agreements, photographs, personal telephone books, diaries, utility
and telephone bills, statements, identification documents, and keys;

11. Identification documents, including passports, visas, alien registration
cards, any and all travel documents, immigration documents, driver's licenses,
identification cards, and social security cards

12. Documents indicating travel in interstate and foreign commerce, to include
airline tickets, notes and travel itineraries; airline schedules; gas receipts, bills; charge
card receipts; hotel, motel, and car rental statements; correspondence with travel agencies
and other travel related businesses; airline, rent a car, and hotel frequent flier or user
cards and statements; passports and visas; telephone bills; photographs of foreign
locations; and papers relating to domestic and international travel; and

13. Latent prints and identifying material from items at the residence.

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